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PROB 12B
(7/93)

                                       United States District Court
                                                                                                         FILED IN THE
                                                                                                     U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON
                                                          for the

                                        Eastern District of Washington
                                                                                                Sep 28, 2016
                                                                                                    SEAN F. MCAVOY, CLERK


                      Request for Modifying the Conditions or Term of Supervision
                                     with Consent of the Offender
                                      (Probation Form 49, Waiver of Hearing is Attached)




 Name of Offender: Roger M. Roberts                             Case Number: 2:15CR00144-SMJ-14
 Name of Sentencing Judicial Officer: The Honorable Salvador Mendoza, U.S. District Judge
 Date of Original Sentence: July 21, 2016                       Type of Supervision: Supervised Release
 Original Offense: Conspiracy to Commit Bank Fraud              Date Supervision Commenced: July 21, 2016
 Original Sentence: Prison - 181 days                           Date Supervision Expires: July 20, 2019
                    TSR - 36 months


                                        PETITIONING THE COURT

To modify the conditions of supervision as follows:


25         The defendant shall reside in a residential reentry center (RRC) for a period of up to 180 days at
           the direction of the supervising officer. The defendant’s participation in the programs offered by
           the RRC is limited to employment, education, treatment, and religious services at the direction of
           the supervising officer. The defendant shall abide by the rules and requirements of the facility.

                                                         CAUSE

On September 9, 2016, Mr. Roberts reported to the U.S. Probation Office and stated he had moved due to
losing his approved residence at the Pine Rock Apartments on August 29, 2016. He had been staying with
a friend, but was asked to immediately leave by the manager because he was not on the lease. Mr. Roberts
disclosed he had been staying at the West Wynn Motel since the beginning of September 2016. Mr. Roberts
was informed that he was in violation of his supervised release for not notifying us within 72 hours of his
change of residence.

The undersigned officer respectfully requests the Court impose the above-noted condition to allow Mr.
Roberts to reside at the RRC until he is able to secure safe housing.
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      Re: Roberts, Roger M
      September 27, 2016
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It is hoped that the course of action taken relative to this matter meets with the expectations of the Court.
Please advise should Your Honor require a different course of action.




                                                                        Respectfully submitted,
                                                                 by     s/Joshua D. Schull
                                                                        Joshua D. Schull
                                                                        U.S. Probation Officer
                                                                        Date: September 27, 2016
THE COURT ORDERS

[ ]       No Action
[ ]       The Extension of Supervision as Noted Above
[;]       The Modification of Conditions as Noted Above
[ ]       Other
                                                                        Signature
                                                                         ignature of Judicial Officer

                                                                               
                                                                        Date
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